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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                                                               PLAINTIFF

v.                                    4:11CR00210-5-JMM

DERRICK KNOX,                                                                        DEFENDANT

                                             ORDER

I.     BACKGROUND

       Before the Court is Defendant’s Motion for Pretrial Release. (Doc. No. 124.) The Motion

mainly challenges the criminal history alleged during the previous bond hearing. The prosecution

has filed a Response in opposition. (Doc. No. 140.)

       A detention hearing may only be reopened “if the judicial officer finds that information

exists that was not known to the movant at the time of the hearing,” and that information “has a

material bearing on the issue whether there are conditions of release that will reasonably assure the

appearance of the person as required and the safety of any other person and the community.” 18

U.S.C. § 3142(f). The matter should not be reopened if the evidence was available at the time of the

initial hearing. See United States v. Dillon, 938 F.2d 1412, 1415 (1st Cir. 1991)(per curiam); United

States v. Hare, 873 F.2d 796, 799 (5th Cir. 1989); United States v. Flores, 856 F. Supp. 1400,

1405–07 (E.D. Cal. 1994).

       The Court finds that the proposed new information does not bear materially on the issue of

whether Mr. Knox poses a danger to the community. The Court previously detained Defendant

largely based on the strength of the government’s case and, in particular, the quantities of cocaine

involved. The Court also was troubled that Defendant had no previous work history and, given the

case involved a presumption of detention, the lack of a suitable release plan. Defendant’s past

criminal history was only a minimal part of the Court’s findings.


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       Accordingly, Defendant’s Motion For Pretrial Release (Doc. No. 124) is DENIED.

Defendant is to remain in the custody of the United States Marshal.

       IT IS SO ORDERED this 16th day of March, 2012.


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                                                    JOE J. VOLPE
                                                    UNITED STATES MAGISTRATE JUDGE




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